                          IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF NORTH CAROLINA

                                  Civil Action No. 5:15-cv-00040-BO

                                                      )
 SPURTREE TECHNOLOGIES PRVT., LTD.,                   )
                                                      )
         Plaintiff,                                   )
                                                      )          NOTICE OF SETTLEMENT
 v.                                                   )
                                                      )
 iCOOL TECHNOLOGIES, INC.; and JAY                    )
 PRAKASH MADAN,                                       )
                                                      )
         Defendants.                                  )
                                                      )


        The Defendants hereby give notice to the Court, as a courtesy given that there are pending

motions on the docket, that the parties have reached an agreement in principal to fully settle and resolve

the case. The parties are in the process of reducing their settlement agreement to writing and expect to

finalize the necessary paperwork in the very near term, which, once executed, will result in the dismissal

of the pending action.



This the 17th day of July, 2015                   /s/ Joshua M. Hiller
                                                  Joshua M. Hiller
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                                                  Counsel for Defendants




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                                     CERTIFICATE OF SERVICE

        I hereby certify that on July 17, 2015, I electronically filed the foregoing document with the Clerk
of Court using the CM/ECF system which will send electronic notification to the counsel of record
indicated on the case docket.




                                                           /s/ Joshua M. Hiller
                                                          Joshua M. Hiller




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